                        UNITED STATES DISTRICT COURT
                      ESTERN
                     ▼″      DISTRICT ttF NORTH CAROLINA
                             ASHEVILLE DIVISION

UNITED STATES OF AMERICA

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                                                    FACTUAL BASIS
STEIN AGEE


       NO$f COMES the United          States of Americ^, by and through R. Andrew
Muffay, United States Attorney for the $Testern District of North Carolina, and flles
this Factual Basis in support of the Plea Agreemeflt filed simultaneously in this matter.

        This Factual Basis is filed pursuant to Local Crimrnal Rule 11.2, and it does not
attempt to set forth all of the facts known to the United States at this time. By their
signatures below, the parties expressly agree that there is a fact.nl basis for the gullty
plea that the Defendant will tender pursuant to the PIea Agreement, and that the facts
set forth in this Factual Basis are sufficient to establish all of the elements of the crime.
The parties agree not to object to or otherwise contradict the facts set forth in this
Factual Basis.

        Upon acceptance of the plea, the United States may submit to the Probation
Office a "Statement of Relevant Conduct" pursuant to Local Criminal Rule 32.4. The
Defendantm^y submit (but is not required to submit) a response to the Government's
"Statement of Relevant Conduct" r.vithin seven days of its submission. The parties
understand and agree that this Factual Basis does not necessarily represent all conduct
relevant to sentencing. The parties agree that they have the right to object to facts set
forth in the presentence report thatare not contained in this Factual Basis. Either parq
may present to the Court addinonal reler.ant facts that do not contradict facts set forth
in this Factual Basis.

                                Introductory Paragraphs

       1,.  Beginning at least as eady as 201.3, and continuing through at least
December 201,9, in the Western District of North Carolina and elsewhere, the
defendant, STEIN AGEE, and others known and unknown to the United States
Attorney, knowingly participated in a scheme to defraud the IRS by organizing,




     Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 1 of 33
marketing, implementing, and defending tax sheltets in the form of fraudulent
syndicated conservation easements ("SCEs"), and by using means and methods
intended to deceive the IRS about the legrtimacy of those ransactions and about the
circumstances under which the fraudulent tax sheiters were marketed and implemented.

      2.       Defendant STEIN AGEE ("AGEE") and his co-conspirators otganized,
marketed, and implemented the fraudulent SCEs for wealthy clients through false and
fraudulent means, including preparing and causing to be prepared, and flling and
causing to be fited by the clients with the IRS, false and fraudulent U.S. individual
income tax returns reporting the fraudulent SCE tax shelter losses, resulting in the
paymeflt o{ far iower taxes by the clients, in order to enrich themselves personally
through the generation of fee and commission income. AGEE and his co-conspirators
also uti]ized the SCE tax shelters to er.ade their orvn taxes on the substantial income
received, at least in part, through the sale of the fraudulent SCE tax shelters.

      3.     In total, the conspiracy caused more than $250 million in tax losses to the
Uruted States of America.

             The Defendant and Associated Individuals and Entities

      4.      From in or around 2000 through the preserit, AGEE worked as an
accountant at an Atlanta-based accounting firm ("Accounting Firm 1"). In or around
2007 , AGEE became a p^rtner at Accounting Firm 1. Shortly thereafter, in or around
2008, AGEE became the tax parffrer, responsible for managng Accounting Firm 1's
staff accountants and reviewing tax returrrs prepared by the frrm. In addition to his role
as the tax partfler, AGEE also maintained his own set of clients within the firm with
whom he worked drrectly to provide accounting and tax planning sen'ices.

       5.     Promoter A, a co-conspirator known to the United States, was a partner
at Accounting Firm 1 until in or around 2002, when he left the firm to start Company
1. Through Company 1, Promoter A, together with others, including AGEE, marketed
"real estate investment funds" which were, in reality, tax shelters in the form of
fraudulent syndicated conservatiofl easements (the "SCE Funds" or "Funds").

       6.     AGEE and two other partners from Accounting Firm 1 used LLC-1 to,
among other things, hold various income generating assets in which the three partrlers
made investrnents.
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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 2 of 33
      7   .         Since at least 2008, Promoter A and Company 1-sometimes directly, and
sometimes through various corporate intermediaries-have occupied the tole of
"rrlarrager" for the SCE Funds. In total, Promoter A, through Company 1, has
organtzed, promoted, and sold at least 23 SCE Funds.


      8.    AGEE prepared and managed the preparati.on of the SCE Funds' federal
income tax retuffrs from 2008 until approximately March 2020. AGEE also assisted
Promotor A with forming and registering new entities and obtaining EINs for the
various entities used in implementing the SCE Fund transactions.

      9.     Attorneys A and B, co-conspirators known to the United States, worked
for Promoter A and Company 1 since at least 201,2. Attorneys A and B assisted
Promoter A with the creation, marketing, and implementation of the fraudulent
syndicated conservation easement tax shelters.

      10.    Attorney C is outside counsel for Promoter A and Company l and has
provided legal advice and audit support related to Promoter A's SCE Funds since in or
around    201.1,.


      1,1,. Attorney D, a co-conspirator known to the United States,            assisted
Promoter A and other co-conspirators with drafting promotional material for the SCE
Funds and promoted the SCE Funds to his own clients, as rvell      org nTzing and selling
                                                                ^s
his own syndicated consen adon easement  funds  to his clients.


      1,2.  Land Conservancy 1 is a pulported non,profit 501G)(3) orgarizatton,
founded in North Carolina, that claims to be "dedicated to protecting natural resources
through conservation easements.       "

         13.        Land Conservancy 2 rs a purported non-profit 501(.)(3) organizztton
founded in Pennsylvania that claims its primary purpose is "preserving and managing
open space with ecologScal, agricultural or historical significance."

         14.Individuals A and B are real estate owners who participated in real estate
and conservation easement donation transactions with Promoter A and Company 1.
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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 3 of 33
       15.   Appraiser 1, a co-conspirator known to the United States, is a licensed
appraiser based in North Carohna who performed conservation easement appraisal
work for Promoter A and Company 1 since at least 2008.

       16.   Appraiser 2, a co-conspirator known to the United States, is a licensed
appraiser based in Atlanta, Georgia, who performed conservation easement appraisal
work for Promoter A and Comparry 1. since at least 2015.

                    The Internal Revenue Service and Its Forms

       1,7.  The Internal Revenue Service ("IRS") was and is an agency of the United
States Department of the Treasury responsible for administering and enforcing the tax
Iaws of the United States.

       18.   An IRS Form 1065, U.S. Return of Parrrership Income, was and is an
information return flled by partnerships to report their income, gains, losses,
deductions, credits, etc. A partnership does not pay tax on its income but "passes
through" any profits or losses to its partners. Partners must include partnership items
on their tax and information returns.

       19.    A Schedule I(-1, Partner's Share of Income, Deductions, Credits, etc., was
and is a schedule of the IRS Form 1065 that members of a business partnership use to
report their share of a partnership's profits, losses, deductions, and credits to the IRS.
The partnership is also required to furnish Schedules K-1 to its partners reporting each
partner's distribunve share of partnership income or loss, and separately stated items,
among other things.

       20.    An IRS Form 8886, Reportable Transaction Disclosure Statement, was
and is an IRS form filed by             including an individual, trust, estate, patnership,
                             ^t^xp^ye4
S corporation, or other      corporations,   to disclose information about reportable
transactions in which the taxpayer participated. Reportable transactions include "listed
transactions." A "listed transaction" is a transaction that is the same as or substantially
similar to one of the g,pes of transactions that the IRS has determined to be a tax
avoidance transaction. These transactions are identified to the public by notice,
regulation, or other form of published guidance as a listed transaction. Under Notice
2077 -10, the IRS identified certain syndicated conservatiorr easemeflt transactions as
"listed transacdons."


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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 4 of 33
        21. A Form 8283, Noncash          Charitable Contributiorrs, was and is a form
taxpayers attached to their individual income tax returns to report information to the
IRS about flofl-cash charitable donations. Conservatiofl easement donations are
reported on Forms 8283. Taxpayets claiming a deduction of more than $500,000 for a
donated item were required to attach a signed copy of a qualified appraisal of the
properry to the taxpayer's return. The appraisal must be signed and dated by a qualified
appraiser in accordance with generally accepted appraisal standards. The appraiser is
required to srgn the Form 8283. The donee otg rtTz^tion that receir.es the donated
property must also sign the Form 8283 acknorvledging the donation. The form is
attached to a filed signed tax return and submitted to the IRS.




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       22. Putsuant to the Internal Revenue Code (the "Code"), and subject to
certain limitations set forth therein and in the associated reguladons, taxpayer m^y
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take a deduction for arry "charitabie contribution" made within the taxable ye^r. The
amount of the deduction generally equals the fair market value of the contributed
property (here, the value of the conservatiofl easement) on the date of the charitable
contribution, except as otherwise specified in the Code.

       23. In addition to requiring     that payment for a charitable conrribution be
made during the taxable year for which the associated deduction is claimed in order for
the deduction to be valid, the Code generaliy requires taxpayers to compute their taxable
income on the basis of their taxable year. This is commonly known as the "annual
accounting period." This annual accounting method does not permit consideration of
events happening after the close of the taxable year, nor does it permit the subsequent
reopening of a prior year for adjustment of deductions.

        24.   Generally, t^xp^yer may flot clarm a charrtable contribution deduction
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for a contribution of a parttal interest in property. However, the Code and associated
regulations make an exception for a "qualif,red conservation contribudon." A qualified
conservation contribution is a contribution of a qualified real property interest, to a
qualified orgrrlz^t7on (such as a qualified 501(.)(:) orgarrlz^t7on), exclusively fot
conservatiofl purposes. A contribution is not a qualified conservation contribution
unless the conservation purpose of the contribution is protected in perpetuity and
certain other requirements are satisfied.




    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 5 of 33
         25. "Conservation pqposes" include: (1) the preservation of land areas for
outdoor recreadon by, or for the education of, the general public; (2) the protection of
a relattvely r'at:ural habitat of fish, wildlife, or plants, or similar ecosystem; (3) the
preservation of open space (including farmland and forest land) where such
preservation is for the scenic enjoyment of the general public, or pursuant to a cleady
delineated Federal, State, or local governmental conservation policy and wili yield a
significant public benefit; ail (4) the preservation of an historically important land area
or a certif,ted historic structure.

        26. A propedy      structured "coflservation easement" is one tlpe of "qualified
real property iflterest," under the Code and associated regulations, the donation of
which by a taxpayer c^rr form the basis for a charitable contribution deduction. A
conservation easement is a legal agreemeflt through rvhich a landowner and another
partf , rypically a non-profit, agree to permanendy restrict the development and/or use
of the land with the purpose of achieving certain conservatiofl or preservation goals.
For example, a taxpayer might donate an easement to a land trust restricting any
development of alarge tract of woodland property that would be inconsistent with the
preservation of that properry as an intact habitat for certain wildlife species.

       27.         to certain exceptions, when an individual taxpayer donates a
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conservation easement as a charrtable contribution in a manner consistent with the
Code and associated regulations, that taxpayer may use the deduction associated with
the donation of the easement to offset up to 50 percent of his or her taxable income
for the relevant taxable year, arrd m^y c rry forward any excess for up to 15 years. The
total amount the t^xp^yer may deduct depends on the fair market value of the
contributi6l-fl121is, on the fair market value of the conservation easeme{rt.

                 Pass-T hroagh E ntities, Partnerc hips, and E   conom ic S ubs tance


       28.   An entity taxed as a partnership is referred to as a "pass through" or "flow
through" entity because it is not itself liable for income tax. Instead, its partners, or
members, are proportionally liable, in their separate or rndividual capacrttes, based on
the income, losses, deductions, or credits "passed through" the entity.

       29.     Each partner takes into accouflt his or her share of the partnership's
income or loss and any "separately stated items" in computing his or her income tax
liability. "Separately stated items" are specific items of income, gairi, loss, deductions,

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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 6 of 33
andf or credits that a partfler must account for separately. A charitabie contribution,
such as a conservation easement donation, constitutes a "sepatately stated item."

       30. For tax purposes,       the term "partnership" includes a syndicate, group,
pool, joint venture, or other unincolporated orgarizatton through or by means of which
any business, financial operation, or venture is opetated, and which is not a corporation
or a tflrst or estate. A limrted liability company ("LLC") with two or more members is
treated as a partflership for federal income tax purposes unless it aff,rmatively elects to
be treated as a corporation.

        31,. If a partnership is organized with no      business purpose other than tax
avoidance, then the partnership lacks economic substance andf or is a sham under
federal tax law. According to the Code, the "economic substance doctrine" means that
a transaction shall be treated as having economic substance only if (A) the transaction
changes in a meaningful way (apart from federal income tax effects) the taxpayer's
economic position, and @) the taxpayer has a substantial purpose (apart from federal
income tax effects) for entering into such transaction.




   General Oaeruiew of Fraud in the Detign, Marketing and Inplenentation of the   SCE   b-ands


       32.    From at least in or about 2013 through 2018, the design, orgatizatton,
promotion and sale of the SCE Funds were carried out in a similar manner. The SCE
Funds organized, promoted, and sold by Promoter A, AGEE, and other co-
conspirators were designed to produce bogus tax deductions for high-rncome taxpayers
through partnership entities that lacked both economic substance and business
purpose. The transactions existed merely to provide tax deductions to their so-called
investors.

       33.    Although facially described in promotional material as real estate
investment funds, the SCE, Funds were, in reality, illegal tax shelters that allowed
taxpayers to buy tax deductions at the end of any glven tax year-as well as after the end
of a given t^xyear-to shelter their income from the IRS, with no economic risk.

       34.   Promoter A, as well as other co-conspirators, were rvell       of the need
                                                                      ^ware
to make the SCE Funds            to have economic substance so that the IRS rvould
                         ^pper
accept the bogus deductions. However, in reality, according to AGEE, each one of his




     Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 7 of 33
clients who participated in the SCE Funds participated for the purpose of purchasing a
tax deduction to reduce their tax liability.

       35.    Thc same、 ア
                        as me thrOughout PrOmOtcr A's cntcrprisc. To gcnerate thc
appcarancc of comphancc and to dcccivc thc IRS,Promotcrゴ ゝand his cO― cOnspirators
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Of thrcc opdons fOr thc fllnd:(1)dlC dCVClopmcnt of thc rcal properり (thC
"Development Option"); (27 the holdrng of the real property for appreciation (the "Bry
and Hold Option"), or (3) the placement of a substantial portion of the real property
into a conservation easement for tax benefits (the "Green Im,estrnent Option").

       36.     In a similar vein, on the surface level, the PPMs typically advised investors
that, following the acquisition of the teal property in question, Company 1, as the
"maflzger" of the fund, would make a "recommendation" to the investors about which
one of the three options to prrsue, and the investors r,vould then formally vote on
whether or not to approve the selected option. According to ofle PPM, "if' the Green
Investment Option were chosen through this process, the investors could offset up to
50o/o of their adjusted gtoss income as a result of the donated conservation easement.


       37.    As noted above, these materials were knowingly drafted to create              an
illusion of legiumacy. Promoter A enlisted professionals, includrngAttorney D, to assist
with drafting the promotional matenals to eflsure that the SCE Funds appeared
legrtimate.

       38.     In reality, and just as the co-conspirators intended, for every single one of
the SCE Funds promoted and offered by Promoter A, AGEE, and the other co-
conspirators for the 2013 through 201,8 tax years, the purported investorf taxpayer
"vote" resulted in the selection of the "Gfeen Investrnent Option"-meaniflg the tax
benefits option. These "votes" were not tfue votes by the investors, and the outcome
rvas in fact predetermined. In other words, the placement of a conservation easement
over the real estate for any glven SCE Fund was always a foregone conclusion.


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     Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 8 of 33
       39.    Indeed, in many instances, the co-conspirators rvere telling the investors
how to "vote" to add to the supetficial              of iegitimacy, while simultaneously
                                         ^ppearatce
marketing the SCE Funds to the investors dfuecdy as pure tax shelters, despite the
marketing materials' superficial claims to the cofltrary. For example, for at least one
SCE Fund, Promoter A advised, and requested AGEE to advise, certain wealthy clients
wrth large "investments" to vote on paper for the "Development Option," in order to
make rt appear that the "vote" was a true vote with differing opinions and flot a
foregone conclusion, even though those clients only entered into the transaction for
the tax benefits and expected that the tax benefit option would be implemented after
the "vote." AGEE did, irr fact, advise several clients to vote for the "Development
Option," and those clients followed his instructions.

       40. In    other efforts to make the SCE Funds                 to have economic
                                                             ^ppe^r
substance beyond the purchase of tax benefits, despite knowing that they did not, the
promotional materials also indicated that the "resi.dual property"-the property
remaining after the donation of the conservation easemsnl-v/euld eventually be
developed or sold. However, in reality, litde, if any, of the residual property for the
2013 through 2018 funds has ever been meaningfully developed. Promoter A did not
make formal requests for additional capital from the Funds' "investors" in order to
develop the residual property, nor did he sell any of the residual property and provide
the proceeds to investors.

       41. As noted above, while Promoter A and some of his co-conspirators,
especially his attorneys, were busy drafting marketing materials for the SCE Funds that
were knowingly designed to mislead the IRS in the event of an examination, Promoter
A and certain other co-coflspirators v/ere simultaneously marketing the SCE Funds to
investors directly as pure tax shelters.

      42.     Several of Promotet A's sub-promoters were, like AGEE, irr the
accounting atdf or tax preparation business, and, on Promoter A's instructions, they
marketed Promoter A's SCE Funds to wealthy clients anticipating large tax bills by
promising that an "investrnent" in the SCE Funds would return a tax savings ratio of
at least 4:1-often between 4.2:1 and 4.5:1. In other words, for every dollar the client
paid to Promoter A to become arl "investor" in a SCE Fund, the client-taxpayer rvould
be purchasing more than four dollars' worth of tax deductions. Many of the marketing
materials Promoter A used to advertise SCE Funds to clients listed examples of the tax
value of an rndividual investor's charitable contribution deduction based upon a




    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 9 of 33
hlpothetical amount of cash invested. These marketing materials also assured investors
that, even in the event of an "IRS Examination" resulting in an adjustment, the
investors' tax savings would still be significant.

       43.   Promoter A set these "ratios" for the SCE trunds by balancing the need
to make the tax shelter purchase desirable for prospective investors against the need to
avoid and protect against IRS scrunny. For example, for each of the SCE Funds,
Promoter A typically set aside at least $1 million for alegd, defense reserve.

       44.    Promoter A, Attorney A, and other co-conspirators would determine and
disttibute a preliminary "rat7o" for arry glven SCE Fund to AGEE and the other sub-
promoters around the time the SCE Fund was affiounced, but before its telease, so
that the sub-promoters could b"g, marketing the tax shelter to high net-worth
individuals using that tax savings ratio. The ratio was often correlated to a preliminary
appraisal of the value of the easement performed by either Appraiser 1 or Appruser 2.
Indeed, for every SCE, Fund that AGEE sold, the final ratio for tax savings always
nearly matched the prelimin^ry r^17o, and the preliminary appraisal performed by
Appraiser 1 or Appraiser 2 always nearly matched the f,rnal appraisal of the value of the
easement.

       45.   That was because Promoter A was pre-determining the value of the
easement before                 was performed, in order to be able to market the desired
                  ^fly ^ppnrsal
tax savings ratio to prospective "investors" eady on. Indeed, many of Promoter A's
marketingmaterials informed "investors" of the value of the "CE Deducdon" (mearung
the vaiue of the easement) long before the final appraisal had been performed.
Promoter A, AGEE, and some of ther co-conspirators regulady provided the tax
savings ratio to prospective investors before Appraiser 1 or Appraiser 2 had performed
or wr-itten a frnal appraisal on the value of the easement.

       46.    Furthermore, for at least six SCE Funds organtzed and sold between 2013
 arld 2018, Promoter A, AGEE, and other sub-promoters marketed and sold units to
investor-taxpayers after the taxye r had concluded. These investor-ta-\payers were flot
members of the pass-through entity at the time the charitable contributiori was made
by the pass-through entity, nor were they members at the time the tax year in which the
charitable contribution was made came to a close, and they therefore could not claim a
lawful deduction for the SCE Fund's charitable contribution.




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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 10 of 33
       47.   Nonetheless, these late "investors" did claim deductions related to their
SCE donations, often aided in doing so by the co-conspirators assisting them with the
backdating of subscription agreements and checks to make the "investments" apper
more legitimate. Late investors backdated documents, including payments,
subscription agreements, and other telated documents. Promoter A, AGEE and other
co-conspirators used several different methods to faci-litate and disguise the late sales.
For example:

                a.   In at least one instance,   Promoter A, AGEE, and other co-
                     conspirators created, or caused to be created, two "shell" entities
                     that were used to hold and sell units in a SCE Fund after the close
                     of the taxye r.

                b.   In other instances, Promoter A, AGEE, and other co-conspirators,
                     backdated, and caused to be backdated, subscription agreements,
                     checks, and other documents related to the transactions.

                 c. In yet another instance, Promoter A, AGEE, and other            co-
                     conspirators used purported "promissory notes" to attempt to covet
                     up the late transactions.

       48.     After the instance described in Paragraph 47 (a) above, which was in 2013
 ar,d 201,4, Promoter A, AGEE and other co-conspirators determined that they did not
need to create separate registered entities to hold and sell unsold units in their SCE
Funds after the close of the relevant t^x ye^r. Instead, the unsold units were allocated
to a placeholder "iflvestor," in their internal books, named "LTS." "LTS" was an
acronym for "Left To Sell," and the "LTS" entry on the enterprise's books represented
units of tax shelter that the co-conspirators still had left to sell to "investors" after the
close of the relevant t^xye r. AGEE would prepare, or cause to be prepared, Schedules
I(-1 issued to LTS as a placeholder, in order to allorv the other Schedules K-1 (for
clients who were ilready invested in the SCE Fund) to be distributed to the investors
in a timely w^y without disrupting the partnership allocations. Late4 after the units
allocated to LTS were sold, additional Schedules K-1 would be issued to the late-joining
investors, without requiring any modification to the Schedules K-1 already issued.

       49.   As noted above, in many instances of late "investments," Pfomoter A,
AGEE, and other co-conspirator/sub-promoters instructed investor-taxpayers to
backdate transaction documents and backdate checks to make it appear to the IRS as if




    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 11 of 33
the late "investments" wefe made during the correct tax ye r. Furthermore, in ordet to
deceive the IRS in the event of arry future examination, Promoter A, AGEE, and other
co-conspirators typically required late investors-taxpayers to make their payments by
backdated checks instead of wiring the payments to the SCE, Funds' accounts. That
was because, in the event of government scrutiny, the co-conspirators knew that the
government would easily be able to determine the dates of wire paymeflts through the
collection of bank records from third parties.

      50. After securing "investrnents"    by marketing the SCE Funds to wealthy
individuals in the manner described above, both before and after the relevant tax yeat
closed, Promoter A, AGEE, and other co-conspirators thereafter caused false and
fraudulent tax retums to be prepared and filed by the investor-taxpayers using the
fraudulent SCE charitable contribution deductions. These SCE deductions were
fraudulent because the undedying transactions lacked economic substance and business
purpose other than ptoviding tax deducti.ons and because, in many instances, the
charitable contribution was made before the investor was a member of the SCE Fund,
and the investor did not even subscribe to the SCE Fund ot transfer any money until
after the relevant tax year had closed.

                Spenfc SCE P-ands: Inland Capital Inaestnent Fund 2013


                        Inland Caoital Investrnent Fund 2013

      51.     On or aboutJuly 3,2013, Promoter A, together with Attomeys A and B,
 orgaruzed Inland Capital Investment Fund 2013 ("ICIF 2013") as a North Carohna
limited partnership. On or about December 15, 201,3,ICIF 2013 purchased a 9\o/o
interest in Fort Myers Limited Partnership ("Fort Myers") which owned real property
located in the Western District of North Carolina.

      52.     Fort Myers owned a 405-acre tract of land located in Buncombe County,
North Carolina. In2011, Individual A and Indivrdual B purchased Fort Myers for the
purchase price of $650,000. On or about December 23,2}l3,Individuals A and B had
entered into an agreement with Promoter A wherein Promoter A agreed to pay
Individuals A and B $7 million for a 98o/o interest in Fort Myers. The $7 million
purchase price Promoter A agreed to pay to Individuals A and B was to be funded by
a portion of the proceeds paid to ICIF 2013, as a SCE Fund, by investor-taxpayers.
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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 12 of 33
      53.   Prior to lnahzing the purchase of an interest in Fort Myers, Promoter A
began marketing interests in ICIF 2013 as a SCE Fund to prospective investors.

      54.   Similar to all of the other SCE trunds, the purported "business plan" for
the Fort Myers real property to be acquired by ICIF 2013, as outlined in the PPM,
claimed to allow investors to choose from one of the three options: (1) the
Development Optiont Q) the Buy and Hold Opuon; or (3) the Green Investment
Option. The PPM further predicted that "r?' the Green Invesffnent Option were
chosen, then the conservation easement would be donated to Land Conservancy 1.
However, in reality, the "Green Inr.estment Option"-1121 is to sa], the tax shelter
option-was a foregone conclusion.

      55.     On December 30, 2013, Fort Myers, now malonty-owned by ICIF 2013,
donated a conservation easement over approximately 280.96 acres of the Fort Myers
real property to Land Conservancy 1. Appraiser 1, who had been working on valuing
the conservation easement since in or around June 201,3-ns21ly six months before any
"vote" on whether to pursue the "Green Investrnent Option" 1v2s hsld-\ralued the
donated easement at$66,21.4,000, $65.5 miliion more than the $650,000 purchase price
Fort Myers had paid for the entire tract of land just t'wo years prior.

      56.      Promoter A, AGEE,, and other co-conspirators sold "inveslmenC' units
in ICIF 2013 to approximately 107 investor-taxpayers. Many of the units Promoter A,
AGEE, and other co-conspirators/sub-promoters sold to investor-taxpayers were sold
after the close of the t^xye r. As described more fu1ly below, Promoter A, AGEE, and
Attorneys A and B agreed to use two special purpose entities to disguise the late
"invesffnents" into ICIF 2013.

      57. The $66,214,000 "charitable      contribution" by Fort Myers, like the
corresponding tax deduction, was passed through ICIF 201.3 to each client-taxpayer
partner of ICIF 201,3 as well as to Individuals A and B, based on their respective
ownership percentage.

      58.     Each client-taxpayer received a Schedule I(-1 from ICIF 2013 reporting a
charitable contribution deduction of more than four times his or her initial capital
contribution, just as Promoter A had promised. Each client-taxpayer reported the flow-
through charitable contribution ofl his or her respecuve individuai tax return and
applied the corresponding deduction to reduce his or her tax liability.
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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 13 of 33
                             Green Fields and Petite Pines

       59. ICItr 201,3 was not fully subscribed at the close of the 2013 tax ye r,
meaning Promoter A and his co-conspitators had not yet sold all of the available units
in the SCE Fund. So, in order to facilitate and disguise sales of units in ICIF 2013 after
the close of the tax year, Promoter A, AGEE, and Attorneys A and B agreed to form
special purpose vehicles and allocate the unsold units to those entities. Promoter A,
together with Attorney A and Attorney B, caused trvo special purpose vehicles to be
formed: (1) Green Fields Investments, LLC ("Green Fields") and Q) Petite Pines
Holdings, LLC ("Petite Pines"). Promoter A allocated unsold units in ICIF' 2013 to
each of these entities as of the end of 201,3. Then, during 201,4, Promoter A, AGEE,
and other co-conspirators/sub-promoters continued to sell units in ICIF 2013 to
investor-taxpayers both directly and indirectly through Green Fields andf or Petite
Pines even though the taxyear was already closed.

       60.    Green Fields was organized on or about December 27 ,2013, by Attorney
A. Ulnmately, Green Fields had 22 investor-taxpayers, at least two of whom were
AGEE's clients. In addition to sellingunits in ICIF 201,3 through Green Fields, AGEE
was a signatory on the Green Fields bank account that was opened in April 2014, and
AGEE prepared the Green Fields Form 1065, Federal Partnership Return, and related
Schedules K-1. Green Fields, through ICIF 2013, received pro-r^t^ portion of the
                                                                 ^
conservation easement donation deduction in the amount of $22,826,790. The
deduction was then passed through to its investor-taxpayers on pro-r^t^ basis. Every
                                                                    ^
single investor in Green Fields, which rvas formed to hold units of ICIF' 2013 that were
not sold at the close of 2013, invested after the charitable contribution had already been
made and after the relevantt^x ye rhad aheady closed.

       61,.   Furthermore, Promoter A aranged for some of the unsold units held by
Green Fields to be given, for free, to certain individuals whose "investments" in a priot
SCE, Fund organrzed by Promoter A had been reduced following a previous IRS audit,
thereby diluting the shares of the investors who actually paid to participate in ICIF
201,3, and without disclosing the arrangement to those paying investors.


      62. Promoter A also orgarized, and caused to be orgarized, Petite Pines in or
around December 30,2013. In or around September 14,2014, AGEE prepared a false
Form 1065, U.S. Renrrn of Partnership Income, for Petite Pines reporting a flow-
through conservation easement charitable deduction from ICItr 2013. AGEE, also
prepared false Schedules K-1 for Petite Pines that reported the ICIF 201,3/Petite Pines


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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 14 of 33
f10w― through   conscAration easernent chatttablc contribution deductiOn to thc
invcstors― taxpaycrs,on a pro― rata basis,in thc total amount Of$2,837,146. Hcrc,again,
CVC7 hVestor in Pctitc Pincs subscribcd to the fund aftcr thc charitable contribudon
had akcaゥ bcCn madc and aftcr dlc tax ycar had aLcaゥ cloSCd・

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       63. On Or about(Dctobcr 30,2014,P■ omoterコヽ,togcthcr u■ thい Lttorncysコ 生
and B,organizcd Southern Appalachian lnvcstmcnt Fund 2014(̀̀SAIF 2014''),aS a
North CarO五 na hmitcd parmcrship.SAIF 2014 was forlncd for thc purposc of
pllrchasing an o、 ncrship intcrcstin Thompson Mountain Holdings,Ы LC(̀̀ThOmpson
Mollntan"),・Vhich O、 ncd rcal prOpcrり 10Catcd宙 thin thc Wcstcrn District Of North
Carolina, and for sclling tax dcductions f10■ vng frorn thc planncd donadon Of an
cascment ovcr rnuch of thatland to investors.

        64.   Indi■ ‐              ough Thompson h71ountain, had pllrchased
                    iduals A and B, tLビ
appro対 matcl17 273 acrcs of rcal prOperw in BuncOmbc and Haywood Coundcs,in
V″   cstcrn North Carolha,for$4,748,441 on or about Dcccmbcr 27,2013.On
Dcccmbcr 23, 2014, Thompson Nlountaln donatcd a consen/ation cascmcnt ovcr
approximatcl17 213.632 acrcs of thc rcal propcrり to Land ConscⅣ ancy l.Appraiscr l
ulumatcけ valucd dlat donatcd cascmcnt at$24,240,000.00,dcspltc the fact that
Thompson MOlntain had purchased thc cntire tract of rcal propcrり     fOr ncarヶ $20
mi■ ion lcss than that rOughly onc ycar p五 〇
                                           r.




      65.   In this instance, at dlc timc Thompson 卜lountain donatcd thc rcal
propcrり tO Land Conservancy l,thc SCE Fund formcd by P■ omoter A tO scl intcrcsts
in thc donation,SAIF 2014,had not cvcn fmalized its pllrchasc Ofan owncrship intcrcst
in Thompson hlollntam.Ind宙 duals A and B and Promotcr A had discusscd SAIF
2014 pllrchasing 970/O ouncrship ofThompson〜 10untah,sO that SJLIF 2014 could scll
intcrcsts in thc tax dcducdon to its invcstOrs,but that agccmcnt had ncvcr bccn
                         Zntlng,duc to a(五 sputc bcむ Ⅳccn thc partics ovcr the allocation
flnalizcd or rcduccd to、 ル
of proflts from thc ICIF 2013 transaction dcscribcd abovc.

       66. Dcspltc thc lack Of cl̀mり aS tO Whcthcr SAIF 2014 evcr acmatt Owncd a
sharc of ThompsOn lν lountan,Promotcrゴ ゝand his co― cOnSpkators rnarkctcd and sold
intcrcsts in SAIF 2014 to numerous invcstOrs as tax shcltcrs, and thOsc invcstors
                                         LC.EIl and OthCr cO― cOnSpkators sold llrllts
clalrncd deductions. In total,PromOtcr A,い
Ofintercstin SAIF 2014 to appro対 matcり 105 invcstOr taxPaycrS・ Each ofthc in、 restor―


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      Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 15 of 33
taxpayers in SAIF 201.4 recerved a false Schedule      I(-1 impropedy reporting a charitable
contribution more than four times his or her capital contribution.

      67. In this example,      as in the preceding one, Promoter A and other co-
conspirators sold units of "investrnent" in SAIF 2014 to investor-taxpayers after the
donation was made and aftet the close of the relevant tax ye r. The co-conspirators
backdated documents and payments related to these late "investments" to make it
apper as if the "investments" were timely made.

                  Specifc   SCE Funds: Inland CapitalAppalachian Fund 2015

      68.      On or about December 22,2014, Promoter A and other co-conspirators
 organtzed Inland Capital Appalackuan Fund 201,5 ("ICAF 2015"), u Georgia limited
liability comparly. ICAF'2015 was formed for the purpose of putchasing interests in
multiple real estate entities, including a 98o/o interest in Jenny's Lare, LLC ('Jenny's
Lane"),which owned approximately 10 acres of real property in Lyon County, Nevada,
and for the purpose of selling interests in a subsequerit conservation easement donation
as tax shelters to investors.


      69.    On or about December 31,2015,Jenny's Lane donated an approximately
S-acre portion of the real property to a non-pro ftt organtzation in Nevada. Appraiser
2 preparcd an appraisal valuing the real property at $1 1,000,000.

      70.   In addition toJenny's Lane,LLC,ICAF 2015 purchased a98o/o interest in
NC Whisper Mountain Holdings, LTD ("\)Thisper Mountain"). Whisper Mountain
owned at least 178 acres of real property in Marshall, North Carolina. On or about
December 31, 2015, Whisper Mountain donated a conservation easement ori
approximately 178 acres to Land Conservancy 1. Appraiser l prepared an apptaisal
valuing the easement at $13,510,000.

      71.    Promoter A, AGEE, and other sub-promoters sold units of interest in
ICAF 2015 to 56 investo?taxp^yers. The total $24,019,800 "charitable contribution"
and correspondrng deduction was passed through ICAF 2015 to each ciient-taxpayer in
the Fund.

      72.      Thus, each of the investors in ICAF 2015 rcceived a Schedule I(-1
reporting   a charitable   contribution more than four times his or her capital contribution.



                                               16




    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 16 of 33
       73.   Promoter A, AGEE, and other co-conspirators impropedy sold units of
"investment" ifl ICAF 2015 after the close of the t^x ye r. These late sales were
fraudulendy backdated to make it appear as if the "investmeflts" were timely made, and
the deductions claimed by these late investors were fraudulent.

                   Speuf c S CE Fands: Coas ta I P mpertie s H oldings,   lf-C
      7   4.   On or about November             Promoter A and Attorney A organized,
                                         1.8,201,5,
or caused to be organtzed, Coastal Properties Holdings, LLC ("CPH"), a Georgia
lrmited liability company. CPH purchased a 960/o interest in Crimson Argent LLC
("Crimson Argent"), which owrls a 99o/o interest in Crimson Independence LLC
("Crimson Independence"). Crimson Independence owned approximately 3,244 acres
of real property inJasper County, South Carolina. On December 30, 2016, Crimson
Independence donated a conservation easement on approximately 1,,330 acres of that
property to Land Conservancy 1. Appraiser 2 prepared an appraisal valuing the
easement a.t$179,760,000. Promoter A, AGEE, and others sold "investment" units in
CPH to at least 390 investor-taxpayers. The $179,760,000 "charitable contribution"
and corresponding deduction were passed through CPH to each client-taxp^yerpafiner
of the Fund. Thus, each of the investor-taxpayers in CPH received a Schedule K-1
reporting a charitable contribution more than four times his or her capital contribution.

       75. Promoter A, AGEE, and other co-conspirators impropedy sold units of
interest in CPH after the close of the tax year. At least 26 investor-taxpayers purchased
units after the close of the taxyear and received false Schedules I{-1, and the deductions
claimed by these late investors were fraudulent.

                      Spenfc SCE, Funds: Coa$al Connani4t Partners


      76.    On or about September 14,201,6, Promoter A and other co-conspirators
organrzed Coastal Community Partners, LLC ("CCP"), a Georgia limited liability
company. CCP purchased a 99o/ointerest in Figure 8 (Georgia)LLC ("Figure 8"), which
owned a 1,,202 acre parcel of real property in Chatham County, Georgia. The real
property was originally purchased in September 2010 for approximately $21,,389,382.

      77.     On December 28, 2017, Figure 8 donated a conservation easement on
approximately 863 acres of the property to Land Conservancy 2. Appraiser B prepared
an appraisal valuing the easement at $96,810,000. Promoter A, AGEE, and other co-
conspirators sold units of interest in CCP to 196 investors. The $96,810,000 "charitable


                                              17




    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 17 of 33
contribution" and corresponding deduction was passed thtough CCP to each client-
t^xp^yff p^rtfler of CCP. Thus, each of the investors in CCP received a Schedule K-1
reporting a charitable contdbution more than four times his or her capital contribution.

       78.     Promoter A, AGEE, and other co-conspirators impropedy promoted and
sold units of interest irr CCP after the close of the201,7 taxyear. For some of these late
investors, Promoter A, AGEE, and other co-conspirators instructed investor-taxpayers
who did not timely invest to sign promissory notes promising to pay for their
"investrneflts" at alater date. Attorneys A and B drafted the promissory notes. AGEE
and other co-conspirators instructed investor-taxpayers to fraudulently backdate these
promissory notes to make it appear as if they had been entered into prior to the close
of the tax ye r when, in fact, they were executed well after the close of the tax ye r.

       79.    The promissory note option was specifically-although not exclusively-
offered to large investors who anticipated substantial income fot the 2018 tax year
Promoter A, AGEE, and other co-conspirators pitched the CCP fund to certain clients
by advising them that the tax deduction generated by the CCP fund could be carried
forward from the201,7 t^xye r to the 201,8 tax year. The clients were also told that this
carry-forward would be useful, in parucular, if the tax law changed to be more restrictive
with respect to conservation easements.

                 Spenfc SCE Fundt: Southea$ Proprry Acquisitions   ItC

       80.     On or about December 26,2017, Promoter A and other co-conspirators
orgarized Southeast Property Acquisiuons, LLC ("SPA"), a Nevada lrmited liabiJity
company. SPA was formed for the pu{pose of purchasing an 80%o interest in Eqrity
Investrnent Associates, LLC ("Eq*ty Investment Associates'), which owned 1,920
acres of real property on Oak Island, North Carohna.

       81. On December 27, 201,8, Eq"ity Investrnent Associates               donated
                                                                                 ^
conservation easement on that property to Land Conservancy 2. Appraiser 1 prepared
an appraisal valuing the easement at $223,050,000 as of December 2018.

       82.    Promoter A, AGEE, and other co-conspirators sold units of interest in
SPA to 416 investors. A $178,440,000 "charitable contributiofl" and corresponding
deduction was passed through SPA to each client-taxpayer in the SPA Fund. Thus,
each of the investors irr SPA received a Schedule K-1 reportirg, charitable contribution
more than four times his or her capital contribution.

                                           18




    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 18 of 33
      83.      Promoter A, AGEE, and other co-conspitators impropedy promoted and
sold units of interest in SPA after the close of the 2018 tax year. AGEE told some of
his clients that the documents needed to be backdated in order to make it appear as if
they had been executed in the 2018 t^xye r. At least 39 investor-t^xp^yers purchased
units after the close of the t^xyear, and the deductions claimed by those investors were
fraudulent.




      84.     AGEE prepared and supen ised the preparation of false and fraudulent
pattrrership tax returns for the SCE, Funds from at least 201,4 $rough 2019. These tax
returns reported bogus charitable contribution deductions related to syndicated
conservation easement donations that AGEE knew to be fraudulent tax shelters, in that
he knew they were conducted for the sole purpose of generating tax deductions.

      85.      Additionally, AGEE willfully prepared false and fraudulent individual
income tax returns for his own clients that reflected the fraudulent tax deductions
generated by the syndicated conservation easement transactions. For many of these
clients' tax returlls, AGEE also knerv that the clients had invested tn the SCE Funds
after the close of the tax year, and that the clients therefore would not be entided to
take a charitable deduction related to the SCE donations that were reported on their tax
retums, even if the "investmeflt" was otherwise legitimate-which it was not.

              Additional Attempts to Deceive and Impede the IRS

       86.   Indrvidual B requested assistance from Promoter A in responding to the
IRS. Promoter A enlisted AGEE and Staff Accountant A to assist Indrvidual B. Staff
Accountant A worked under the direction of AGEE. Promoter A, concerned that the
IRS review of Individual B's tax returns would prompt the IRS to look more closely at
the Thompson Mountain transaction as a whole, requested thatAGEE attempt to delay
the IRS past the statute of limitations date for initiating an audit of the conservation
easement transactions themselves.

       87.   Promoter A knew that certain documents related to the Fort Myers and
Thompson Mountain transactions had never been executed, and that no final
agreement for a purchase of an interest in Thompson Mountain by Promoter A's
associated SCE Fund had ever been reached.


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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 19 of 33
       BB.   Promoter A therefore informed Individuals A and B that they would need
to backdate certairi documents in ordet to make the transactions look legitrmate for the
IRS. For example, Promoter A pushed Individual B to execute a backdated written
agreement documenting the sale of a controllitg9So/o interest in Thompson Mountain
to SAIF 2014.

       89.   Among other infirmities with the undedying transactions, AGEE knew
that the documents related to the Thompson Mountain transaction had not been signed
or fnnhzed and that, as a resulg SAIF 2014 was likely not entitled to take any charitable
contribution deduction for the purported easement donation made by Thompson
Mountain in December 2014. AGEE also was aware that certain documents related to
the eadier Fort Myers transaction also needed to be signed.

       90.    On behalf of Promoter A, Attorney B provided the relevant documents
to Individual B to be signed and backdated. AGEE explained to Indrvidual A that he
found backdating documents "necessary at times."

       91,.  Additionally, as requested by Promoter A, AGEE deliberately delayed
provrding the IRS with certain information until the expiration of the statutory period
of time for iruuatmg an examination of the Fort Myers partnership. As AGEE
explained to Individual B during a recorded call:

       "... I was, for lack of a better term, I was playing a little game with   the auditor
       and the game was, I was waiting ori getting documents until we got past
       September 3'd...until I was confident the statute had cleared on Fort Myers
       partnership to where they [presumably IRS] could notpull it for an examination."

       92. All of this rvas consistent with Promoter A's usual approach to IRS
scruti.ny. If any investors contacted Promoter A about IRS scrutiny of ther indrvidual
tax retums, Promoter A would typically try to steer them to AGEE and his firm to
handle the interactions with the IRS, because Promoter A wanted AGEE to control the
flow of documents to the IRS. Promoter A, Attorney C, and AGEE agreed to attempt
to delay audits until after the statute of Limitations relating to the conservation easement
deductions had expired.




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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 20 of 33
                 Tax Loss Caused by the Fraudulent Tax Shelters

       93.     Because the SCE Fund transactions were planned, structured, and
executed for the sole purpose of generating huge tax deductions for investors (and
therefore lacked any other economic substance and business purpose), Promoter A's
tax shelters resulted in a massive evasion of taxes, all, facittated by Promoter A, AGEE,
and other unnamed coconspirators on behalf of their clients and investors.

       94.     For example, from 2013 through 2018, Promoter A's SCE trunds were
marketed and sold to at least 1,500 wealthy individuals as tax shelters, and over the same
period of time, they generated atleast $1.2 billion in false and fraudulent tax deductions.

                             Financial Beneats to AGEE

       95. All of Promoter A's SCE Funds paid out money, sourced from the
investors, to Promoter A and his enterprise, usually in the form of a"management fee"
paid to Company 1 or whatever other registered entity Promoter A and his co-
conspirators assigned to act as the manager. Promoter A used these fees, in part, to
pay commissions to the SCE, Funds'vari.ous sub-promoters, including AGEE.

       96.  AGEE began receiving commissions from Promoter A for promoting the
SCE Funds to tax clients tn201,3. Promoter A paid the commissions to LLC-1, which
v/as owned by AGEE and two other partrers ftom Accounting Firm 1. Promotet A
paid the commissions to LLC-1 to keep the revenue outside of Accounting Firm 1.

       97.     AGEE did not disclose his receipt of commissions ftom Promoter A for
the sale of the SCE Funds to his clients. Instead, AGEE described the commissions to
his clients as due diligence fees, consulting fees, and addiuonal tax preparation fees. In
total, for the years 201,3 through 2019, AGEE received more than $1.7 million in
commissions.

       98. From time to time, Promoter A also gave to AGEE, through LLC-1, units
in the SCE, Funds as additional compensation. These units in the SCE Funds were used
to offset income earned by LLC-1, and the deduction flowed-through to AGEE's
individual income tax returfl, as well as to the other two members of LLC-I. AGEE
did not report the units as income on LLC-1's partnership returns, despite the fact that
neither AGEE nor LLC-1 paid for the units.
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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 21 of 33
                                 Count of Conviction

                     Count One: ConSirary to Defraud the United States

         99.  Through this plea, the Defendant admits that, beginning at least as eady
as 2013 and continuing through at least December 201,9, both dates being approximate
and inclusive, in Buncombe County, within the Western District of North Carolina, and
elsewhere, the Defendant, STEIN AGEE, did unlawfully, voluntaily,intentionally, and
knowingly conspire, combine, confederate, and agree with other individuals both
known and unknown to the Uruted States Attorney to defraud the United States by
impeding, impairing, obstructing, and defeating the lawful government functions of the
Internal Revenue Service of the Department of Treasury in the ascertainment,
computation, assessment, and collection of reveflue, that is, U.S. individual income
taxes.

                               Obiect of the Consoiracv

         100. It was prt   and object of the conspiracy that, from at least 2013 unul in
                   ^
or about December 201,9, the Defendant, STEIN AGEE, and others known and
unknown to the United States Attorney, did unlarvfully, voluntarily, intentionally, and
knowingly defraud the United States of America ard an agency thereof, that is, the
Internal Revenue Service of the Departrnent of Treasury, by impeding, impairing,
defeating, and obstructing the lawful governmental functions of the IRS in the
ascertainment, assessment, and collection of income taxes through the design,
marketing, and implementation of fraudulent tax shelter transactions in the form of
syndicated conservatiofl easement donations.

                                   Manner and Means                                  血 血
                                                                                       Ｃ




         101. AGEE and his co-conspirators, and others known and unknown to
                                                                                       Ｃ




United States Attorney, carried out the object of the conspiracy according to
following marifler and means, among others:

                   They designed, marketed, and implemented the              fraudulent
                   syndicated conservation easement transactions, and created false
                   and fraudulent factual scenarios to support those transactions;
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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 22 of 33
          b.    They designed, marketed, and implemented the SCE transactions in
                ways that impeded and obstructed the abiJ-ity of the IRS to detect
                the fraudulent nature of the transactions;

          C.    They provided the tax savings ratio to prospective investors before
                Appraiser 1 or Apprarser 2had apprused the value of the easement.

          d.    They caused Appraiser 1 and Appraiser 2 to falsely inflate their
                appraisals of easements in order to achieve the desired amount of
                tax deductions for the investors.

          C.    They designed, marketed, and implemented the SCE transactions to
                disguise the fact that the SCE transactions were tax-motivated and
                lacked any non-tax business pu{pose;

          f.    They prepared and assisted in preparing, and caused to be prepared,
                false and fraudulent documents to deceive the IRS, including but
                not limited to, backdating subscription agreements, checks, and
                promissory flotes;

          g.    They prepared and caused to be prepared tax retuffis for the SCE
                clients that were false and fraudulent because, among othet things,
                they claimed fraudulent tax deductions related to the conservation
                easement deduction, and thereby substantialiy understated the tax
                due and owing by the SCE clients;

          h.    They prepared and caused to be prepared fraudulent documents to
                be provided to the IRS in the event of an IRS audit; and

                They paid, caused to be paid, and received referral fees and
                commissions, which were frequendy not disclosed to the clients, as
                a means of rewarding those who marketed the syndicated
                conservation easement scheme and to provide incentives to others
                to do so.

                                  Overt Acts

     102.    To accomplish the objects of the conspiracy, AGEE and his co-
conspirators, and others knorvn and unknown to the United States Attorney,
                                       23




   Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 23 of 33
committed and caused to be committed the following overt acts, among others, in the
STestern Disrict of North Carolina and elservhere:

                   On or aboutJuly 3, 2013, Promoter A, together with Attorneys A
                   and B, orgarized Inland Capital Investrnent Fund 2013 ("ICIF
                   201,3"), as a North Carolina hmited partnership.

            b.     Begrnning sometime ln 2013, Promoter A, AGEE, and others
                   began marketing ICIF 2013 to investors as a "tax-savings" vehicle.

            C.     In or around December 2013, Promoter A caused ICIF 2013 to
                   purchase a 98o/o interest in Fort Myers. Shortly thereafter, in
                   December 2013, Promoter A caused Fort Myers to donate a
                   conservation easement to Land Conservancy L, valued by
                   Appraiser 1 to be worth fi66,214,000.

            d.     In or around early December 201,3, AGEE, Promoter A,            and
                   Attorney A met to discuss how best to faci-litate the sale of the
                   unsold units in ICIF 2013 after the end of the year. During the
                   meeting, they agreed to establish Green Fields Investments, LLC,
                   and allocate a portion of the unsold "investrnenC' units in ICIF
                   2013 to that entity in order to disguise the sale of units after the
                   close of the 201,3 taxyear

            C.     On or about December 28, 201,3, Promoter A, Attorney A, and
                   other co-conspirators orgatized, ot caused to be organtzed, Green
                   Fields Investments, LLC in the state of North Carolina.

             i     On or about December 30, 201,3, Promoter A and Attorney A
                    organtzed, or caused to be organrzed, Petite Pines Holdrngs, LLC
                   in North Carolina. Petite Pines Holdings held a 4.372%o interest in
                   ICIF 2013. Similar to Green Fields, Promoter A and other co-
                   conspirators used Petite Pines to distribute units in ICIF 2073 after
                   the close of the tax year. In total, six taxpayer-investors, through
                   Petite Pines, obtained units in ICIF 2013 after the close of the tax
                   ye f.




                                         24



    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 24 of 33
       g。    On December 30, 2013, Promoter A and other co-conspirators
             caused Fott Myers to donate a conservation easement over
             approximately 280.96 acres of the Fort Myets real property to Land
             Conservancy 1.

       h.    In or about Ap.il  201,4, Promoter A and other co-conspirators
             opened or caused to be opened a bank account held in the name of
             Green Fields. AGEE, served as one of the signatories on the
             account.

             In  201.4, AGEE and other co-conspirators sold units of
             "investrnent" in ICIF 2013 through Green Fields and Petite Pines
             to make it appear as if the "investments" were made n 2013.

            For example, on Ap.il 3,201,4, AGEE emailed the managing agent
            of his clieng F.G., to inform ham that he and Promoter A were
            "closing out the ?0131 conservatiofl easement partnership and
            need to determine if [F.G.] is going to want any easements?...the
            2013 program will be closed very soon, i.e, in the next couple of
            days." On May 71,201,4, AGEE emailed Promoter A a copy of
            F.G.'s signed and backdated subscnpuon agreement for Green
            Fields thatwas backdated to December28,2013.

       k.    In   2014, Promoter A, AGEE, and other co-conspirators also
             atrarged for the free, late participation in ICIF 2013, through
            Green Fields, of certain investors whose "investrnents" in a prior
            SCE Fund orgarized by Promoter A had been reduced following a
            previous IRS audit, thereby diluting the shares of the investors who
            actualiy paid to participate in ICIF 2013, and without disclosing the
            arrangement to those paFng iflvestors.

            On or about September 11,2014, AGEE prepared and caused to
            be prepared, and filed or caused to be filed, a false and fraudulent
            Form 1065, U.S. Return of Partnership Income, for ICIF 201,3,
            which claimed a non-cash charitable contribution deduction in the
            amount of $60,535,658.




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Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 25 of 33
       lll.   On or about September 12,2014, AGEE prepared and caused to
              be prepared, and filed and caused to be filed, a false and fraudulent
              Form 1065, U.S. Return of Partnership Income, for Green Fields
              clarming a non-cash charitable contribution deduction in the
              amount of $22,826,790 that flowed through from ICIF 2013's
              partnership return.

              In or around September 201,4,AGEE prepared a false Form 1065,
              U.S. Return of Partnership Income, for Petite Pines Holdrngs
              reporting a flow-through conservation easement charitable
              deduction from ICItr 2013. AGEE, also prepared false Schedules
              K-1 for Petite Pines that reported a flow through charitable
              contribution deduction to the iflvestors in the amount of
              ff2,837,146 that was attributable to the ICIF 2013 conservation
              easement donati.on.

       0.     In or around October 2014,AGEE, prepared              fraudulent
                                                            a false and
              return for client F.G. that reported a non-cash charitable
              contribution in the amount of $1,858,248 that flowed through to
              his return from ICIF'2013, via Green Fields. AGEE knew, at the
              time he prepared the return that F.G. had not pard for the
              "investment" units in Green Fields that resulted in him claiming
              the deduction on his tax return.

       p.     On or around October 30, 2014, Promoter A and other co-
              conspirators orgarized and caused be organtzed Southern
              Appalachian Investment Fund 201,4, LLC.

       q.     On or about December 1,9, 201,4, Promoter A and other   co-
              conspirators orgaruzed Inland Capital Appaiachian Fund 2015
              ('ICAF 2015"), a Georgla limited liability company.

       f.     On December 23, 2014, Promoter A and other co-conspirators
              caused Thompson Mountain to donate a conservation easemeflt to
              Land Conservancy      1.


              In  201,5, Promoter A, and other co-conspirators sold units of
              interest in SAIF 2014 to late investors and backdated and caused to


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Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 26 of 33
             be backdated the payments and documents related to the investor-
             taxpayers' late "investrnents."

             On or around September 14,2015, AGEE, prepared a Form 1065,
             U.S. Return of Pattnership Income, for SAIF 201,4 that claimed a
             flow-through conservation easement donation in the amount of
             fi23,51,2,800 that was false in that, among other things, SAIF 2014
             did not legally hold an interest in Thompson Mountain and
             therefore was not entided to claim any deduction related to the
             consen'ation easement donation.

       u.    On or around September 1,5,201,5, AGEE prepared a false Form
             1065, U.S. Return of Partnership Income, forThompson Mountain
             that reported a conservation easement donation charitable
             deduction in the amount of $24,240,000.

       V.    On or about November 18,2015, Promoter A and Attorney A
             orgarized, or caused to be organized, Coastal Properties Holdings,
             LLC ('CPH"), u Georgia limited liabijity company. CPH, through
             Crimson Argent LLC, purchased a 99o/o interest in Crimson
             Independence, LLC, which owned approximately 3,244 acres of
             real property in Jasper County, South Carolina.

       W.    In201,6, Promoter A, AGEE, and other co-conspirators soid units
             of "investrnent" in ICAF 201,5 ard backdated, and caused to be
             backdated, related "investrnent" documents to make it appear that
             the "investrneflts" had been made n 201,5.

       X.    On or around September20T6,AGEE prepared a false Form 1065,
             U.S. Return of Partnership Income for ICAF 201,5 that claimed a
             flow-through conservation easement donation in the amount of
             $10,780,000.

       y.    In or around Aptil 2016, AGEE prepared false Schedules K-1 for
             ICAF 201.5's 63 investors that reported their pro-rata share of the
             cons ervatiorl   e as   ement donatio n charitable deduction.




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Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 27 of 33
             In or around September 14, 201.6, Promotet A and other co-
             conspirators organtzed or caused       to be    orgartzed Coastal
             Community Partners, LLC ("CCP").

             In or around December 201.6, as suggested by Promoter A, AGEE
             instructed investors J.C. and J.B. to "vote" for the development
             option for the CPH Fund, explaining that that for "opdcs," some
             investors needed to vote for the development option to make the
             vote appear more legitimate. He further explained that thete were
              akeady enough "gfeen option" votes so the conservation easemerit
             donation was ensured. J.C. and J.B. thereafter voted for the
             development option knowing that the green option would prevail.

       bb.   On December 30, 2016, Promoter A and othet co-conspirators
             caused Crimson Independence, LLC to donate a coflservation
             easement over 1,330 acres to Land Conservancy 1 that was valued
             by Appraiser 2 at $179,760,000.

       cc.   In       Promoter A, AGEE, and other co-conspirators sold units
                  2017 ,
             of "investrnent" ifl CPH and backdated, and caused to be
             backdated, related "investrnent" documeflts, to make it appear that
             the "investments" had been made 1n2016.

       dd.   In or around September 2017, AGEE prepared a false Form 1065,
             U.S. Return of Partnership Income for CPH that claimed a flow-
             through conservation easement donation in the amorrit of
             $195,304,557.

       ee.   In late 2017, AGEE, Promoter A, and Attorney A met to discuss
             using promissory notes for late investors in CCP instead of
             backdated checks and subscription agreements.

             On or about December 26, 2017, Promoter A and other co-
             conspirators orgarized Southeast Property Acquisitions, LLC
             ("SPA"), a Nevada limited liability company.




                                   28



Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 28 of 33
       3g・
                On December 28, 20'1,7, Promoter A and other co-conspirators
                caused Figure 8 (Georgia),LLC to donate a conservation easement
                to Land Conservancy 2.

       hh.      On December 30,    201,7,AGEE emailed client J.B. attaching his
                subscription agreement for CCP that was dated December 28,
                201,7. In the email, AGEE stated,'You can fund the "investrnent"
                after year-end so do not feel like you have to do that today. \We
                just need the subscription document executed. Please note that I
                have inserted the signatute date for a reason. Please leave as this
                date. I can explain verbally on the date if you have questions."
                ClientJ.B. rvired the funds inJanuary 201.8. Nonetheless, knowing
                client J.B. had not timely invested, in or around October 201.8,
                AGEE preparedJ .8.'s 201,7 federal income tax return and included
                the conservation easement charitable contribution donation
                flowing through from CCP.
        ¨■




                In   201,8, Promoter A, AGEE, and others soid units of
                "investment" in CCP and backdated, and caused to be backdated,
                related "investrnent" documents, including promissory notes, to
                make tt appear that the "investments" had been made tn 2017 .

                In or around July 2018, Promoter A asked AGEE to use the audit
                of Individual B as levetage to persuade Individuals A and B to
                execute documents that had never been executed reiated to Fort
                Myers and Thompson Mountain. In the altetnative, Promoter A
                asked AGEE to delay the audit past the statute of limitations for
                the Fort Myers and Thompson Mountain transactions when they
                would no longer need to provide executed documents to the IRS
                for purposes of the audit.

       1【]lc.   On or about September L2, 2018, AGEE rn reiterated to
                Indrudual B that the deal paperwork needed^gto be signed and
                backdated.   In order to    avoid creating     p^per trail, AGEE
                informed Individual B that the documents
                                                            ^
                                                           would be sentby   FedEx.

       l.       On or around September 1,5,2018, AGEE prepared a false Form
                1065, U.S. Return of Partnership Income, for CCP that reported a


                                      29



Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 29 of 33
             flow-through conservation easement donation charitabie deduction
             in the amount of $95,841,900.

             In or around October 5,201,8, AGEE informed Individual B that
             additional documents relating to the Thompson Mountain
             transaction would need to be signed, backdated, and provided to
             the IRS.

       nn.   In or around October 5,2018, AGEE                        Individual B
                                                     ^galninformed
             that he and Attorney C rvere "carefully g"tdi.g what documents we
             send to the IRS. And we've also done it based on timing so that
             the statutes staft to expire before we provide certain things."

             In the fall of     Promoter A began marketing "investments" in
                              201,8,
             Southeast Property Acquisitions, LLC.

       pp.   On December 27,2018, Promotet A and other co-conspirators
             caused Eq"ity Investrnent Associates, LLC, to donate
                                                                                ^
             conservatiofl easement to Land Conservancy 2.

       qq.   In2019, Promoter A, AGEE, and other co-conspirators sold units
             of "investrnent" irl SPA, LLC and backdated the related
             "investment" records to make tt appe r as if the "investments"
             were made in 2018.

       ff.   On or about September 16,201.9, AGEE prepared a false Form
             1065, U.S. Return of Partnership Income, for SPA reporting a flow-
             through conservatiofl easement charitable donation deduction in
             the amount of $178,440,000.

       SS.   On or about September 1,6,201.9,AGEE prepared false Forms I(-
             1 for 416 investors in SPA that reported their pro-r^ta share of the
             $ 1 7 8,440,000 fl ow-through charitable contribution deduction.


             Ir,2020, Promoter A informed AGEE that he had met with several
             other co-conspirators to eflsure that they were ori the "same pa.ge"
             about the late "investrnents." AGEE understood this to mean that



                                       30



Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 30 of 33
                      they would agree to claim, falsely, that all of the late investors had
                      timely subscribed to the SCE Funds.

             uu.      Similady, as he had on prior occasions, n 2020 Promoter A
                      suggested AGEE could claim, falsely, that the backdated checks the
                      goverflment had recovered were not deposited until after the close
                      of the t^xyear because they had simply been "lost" on somebody's
                      desk.

             w.       On or about November 4, 2020, Promoter A left a handwritten
                      note for AGEE in AGEE's office at Accounting Firm 1, stating
                      that he had been "cleaning up the books." Promoter A rnformed
                      AGEE that AGEE's client J.B. had a "$100,000 receivable
                      outstanding in SPA." Promoter A also referenced a 2017 SCE
                      Fund and stated that the tax return for the Fund had a Schedule I(-
                      1 issued to an "LTS investor" in the amount of $750,000.


       103. Alt in violation of Title    18, United States Code, Section 371.

                                      Relevant Conduct

       1,04. Tax Loss: \X/hile the overall tax loss attributable to the conspiracy is more
than $250 million, the parties agree that the tax loss attributable to the Defendant, for
purposes of U.S.S.G. S 2T1.a(a)(1), and from which the Defendant is not shielded by
U.S.S.G. S 181.8, is more than $25 million, but not more than $65 million. More
specifically, the parties agree that the tax loss is approximately $45,646,720 million,
consisting of estimated tax losses associated with the SCE Funds ICIF 2013 and CCP,
described above, each of which the Defendant admits were tax shelters and a part of
the conspiracy's fraudulent scheme. This estimate was calculated as follows:

                          Deduction Value      Estimated Tax Rate    Estimated Tax Loss
    ICIF 2013/Fort
              lvI、 rcrs       $66,214,000.00                  0.28        $18,539,920.00
     CCP/Figurc 8
     (Gcorttal LLC            $96,810,000.00                  0.28        $27、 106、 800.00

                                                         TOTAL:           $45,646,720.00
                                               うＤ




    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 31 of 33
       105. Role Enhancement: The parties agree that the conspiracy         as a whole
involved five or more people and was otherwise extensive, and that the Defendant acted
as a "fi1aflager or supervisor" withifl the consptacy. Howevef, he did not act as afl
" orgartlzer or leader."

      106. Sophisticated Means: The parties agree that the offense, as described
above, involved "sophisticated means," given the sigruficant scope of the criminal
conduct, the legal and technical complexity of the "investrnent" vehicles created by
Promoter A and his co-conspirators, and the extent to which the co-conspirators
created fictitious and false documents and records to conceal their wrongdoing.

       107. Retum Preparet: The parties        agree that the Defendant was    in   the
business ofpreparing or assisting    in the preparation of tax returns during the
commission of the offense.

R.ANDttW MURY
UNI                   A



 AN        V.BRADi  ASSISTANT
                                                     lATES ATTORNEY
                           ,
CARYN FINLE,Y, ASSISTANT UNITE,D STATE,S AT:|ORNEY
BRITTNE,Y CAMPE,LL, TRTAL AT:|ORNE,Y, TAX DIVISION
GRACE, ALBINSON, TRIAL ATTORNE,Y, TAX DIVISION
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    Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 32 of 33
       I have read」 lls Factual Basis,the Btt Of lnfoftnatlon,and the Plea A3tcemCnt
ul dus casc,and l havc discusscd thcm wlth the Defendant Bascd oflthose cLscussions,
T am sausned that tllc Dcfcndant undcrsunds thc Fach■ 1l Basis,the B」 ]of lnfOrrl■ atlon,
and thc Plca 248rcctncnt l hcК by ccrtlけ that thc dcfcndatat docs nOt disPutC iiS
Facttlal Basls



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Robert Blake, Jr., A
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  Case 1:20-cr-00128-MR-WCM Document 3 Filed 12/16/20 Page 33 of 33
